                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ABINGDON DIVISION

 UNITED STATES OF AMERICA                          :
                                                   :
 v.                                                :
                                                   :              Case No. 1:19-CR-00016
 INDIVIOR INC. (a/k/a Reckitt Benckiser            :
 Pharmaceuticals Inc.) and                         :
 INDIVIOR PLC                                      :

                                  NOTICE OF APPEARANCE

        I am authorized to practice in this Court, and I appear in this case as counsel for the

 United States of America.

                                                   Respectfully submitted,

                                                   /s/
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                                   CERTIFICATE OF SERVICE

         I certify that on September 27, 2019, I electronically filed the foregoing Notice of

 Appearance with the Clerk of Court via the CM/ECF system, which will send notification of the

 filing to all counsel of record in this matter.

                                                   /s/

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